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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Javad Dadgostari | 8:23-cv-02217-CJC-JDE
, (ase No.:
Plaintiff,
vs ORDER GRANTING
Robey Azadpour, et al.
REQUEST FOR EXTENSION
Defendant(s).
Having considered Plaintiff *s Request,

(indicate Plaintiff or Defendant )

IT IS HEREBY ORDERED that the Request for Extension of Time is

GRANTED. Plaintiff has 4 days from the date

(indicate Plaintiff or Defendant) (# of days)

of this order to file Proof of Service

7 7
DATED: April 1, 2024 Signed p— fa

Hon. “.. Cord ac J. Canty ey

(insert Judge's e name)

Revised: October 2023

Form Prepared by Public Counsel

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Order

